Exhibit 9

USWGO
QANON // DRAIN THE SWAMP

W.G.O.

UNITED STATES DISTRICT COURT CASE NO. 1:13-CR-435-1
UNITED STATES DISTRICT COURT CASE NO. 1:17-CV-1036
MIDDLE DISTRICT OF NORTH CAROLINA

   

Exhibit in attachment to “Petitioner's Third Motion for Sanctions, Motion for Default
Judgment in 2255 case and to Vacate Judgment that was in Plaintiff's/Respondent's
Favor -- Motion and Brief/Memorandum of Law in support of Requesting the Honorable
Court in this case grant request for Default Judgment and Vacate Fraudulent begotten
Judgment or Judgments”

Case 1:123-cr-00435-TDS Document 222-9 Filed 11/21/19 Pane 1 of 2
1021 US-220 BUS

Martinsville, Virg

3, Reed a

Virginia Inc

 

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